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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



 Jeremiah Jackson,                             )       CASE NO. 06 CR 290
                                               )
                        Petitioner,            )       JUDGE PATRICIA A. GAUGHAN
                                               )
                Vs.                            )
                                               )
 United States of America,                     )       Memorandum of Opinion and Order
                                               )
                        Respondent.            )



        INTRODUCTION

        This matter is before the Court upon Petitioner’s Motion to File 28 U.S.C. § 2255 to

 Vacate, Set Aside, or Correct Sentence (Doc. 738). For the reasons that follow, the motion is

 DENIED.

        FACTS

        Petitioner, Jeremiah Jackson, was indicted on June 14, 2006, for drug related activity.

 On February 26, 2007, petitioner entered a written plea agreement with the government and pled

 guilty to conspiracy to possess with intent to distribute and distribution of crack within 1,000

 feet of school property. The government dismissed the remaining counts in the indictment. On

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 March 29, 2007, this Court sentenced petitioner to 100 months of imprisonment followed by

 eight years of supervised release. Petitioner did not file an appeal. Thereafter, petitioner filed a

 motion pursuant to 18 U.S.C. § 3582(c)(2). This Court granted petitioner’s motion and reduced

 his sentence to 84 months.

        Petitioner now moves the Court pursuant to 28 U.S.C. § 2255. According to petitioner,

 his sentence is unconstitutional because it is based on a disparity between crack and powder

 cocaine. The government opposes the motion.

        ANALYSIS

        Petitioner argues that his sentence is subject to collateral review because the Supreme

 Court favorably changed the law governing petitioner’s sentence. In response, the government

 argues that the motion is untimely. Further, the government points out that petitioner waived his

 right to collateral review except in limited circumstances, none of which are applicable here.

        Upon review, the Court finds that petitioner’s motion must be denied. As an initial

 matter, the plea agreement contains a waiver of petitioner’s right to obtain collateral review.

 None of the exceptions to the wavier are argued by petitioner. Moreover, the motion is

 untimely. In response to the timeliness issue, petitioner claims that the Supreme Court issued

 Spears v. United States, 129 S.Ct. 840 (2009) on January 21, 2009. Because petitioner filed his

 motion within one year of Spears, the motion should be considered timely. The argument is

 rejected. As petitioner himself recognizes, the Supreme Court, in Kimbrough v. United States,

 522 U.S. 85 (2007), previously held that district courts may deviate from the sentencing

 guidelines’ 100-to-one ratio for crack cocaine. Spears simply “clarified” the holding in

 Kimbrough. Thus, even if the plea agreement did not contain a waiver of appellate rights, this


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 Court is not convinced that petitioner’s motion would be timely.

         CERTIFICATE OF APPEALABILITY

         Based on the foregoing, the Court declines to issue a certificate of appealability.

         28 U.S.C. § 2253(c) provides:

         (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an appeal may
         not be taken to the court of appeals from--

         (A) the final order in a habeas corpus proceeding in which the detention complained of
         arises out of process issued by a State court; or

         (B) the final order in a proceeding under section 2255.

         (2) A certificate of appealability may issue under paragraph (1) only if the applicant has
         made a substantial showing of the denial of a constitutional right.

         (3) The certificate of appealability under paragraph (1) shall indicate which specific issue
         or issues satisfy the showing required by paragraph (2).

 (emphasis added).

         In Slack v. McDaniel, 529 U.S. 473 (2000), the Supreme Court determined that

         [t]o obtain a COA under § 2253(c), a habeas prisoner must make a substantial
         showing of the denial of a constitutional right, a demonstration that, under
         Barefoot, includes showing that reasonable jurists could debate whether (or, for
         that matter, agree that) the petition should have been resolved in a different
         manner or that the issues presented were ‘adequate to deserve encouragement to
         proceed further.’

 Id. at 483-4 (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983)).

         For the reasons stated herein, the Court does not find that petitioner has made a

 substantial showing of the denial of a constitutional right. Accordingly, the Court declines to

 issue a certificate of appealability.

         CONCLUSION

         For the foregoing reasons, Petitioner’s Motion to File 28 U.S.C. § 2255 to Vacate, Set

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 Aside, or Correct Sentence is DENIED.

        IT IS SO ORDERED.




                                   /s/ Patricia A. Gaughan
                                   PATRICIA A. GAUGHAN
                                   United States District Judge

 Dated: 4/5/10




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